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Debtor 1 David J. Wallace

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: Eastern District of PA

Case number 20-10306 AMC

Form 4100R

Response to Notice of Final Cure Payment 10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.

Mortgage Information

Name of Creditor: PennyMac Loan Services, LLC Court claim no. (if known): 24

Last 4 digits of any number you use to identify the debtor's account: 0795
Property address:

8271 Williams Avenue

Philadelphia, PA 19150

Prepetition Default Payments

Check one:

Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the
creditor’s claim.

0 Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the
creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of this $
response is:

Postpetition Mortgage Payment

Check one:

Creditor states that the debtor(s) are current with all postpetition payments consistent with
§ 1322(b)(5) of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

The next postpetition payment from the debtor(s) is due on: 02/01/2025

7 Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5) of the Bankruptcy Code, including all fees,
charges, expenses, escrow, and costs.

Creditor asserts that the total amount remaining unpaid as of the date of this response is:

a. Total postpetition ongoing payments due: (a) $
b. Total fees, charges, expenses, escrow, and costs outstanding: + (b) $
c. Total. Add lines a and b. (c) $

Creditor asserts that the debtor(s) are contractually obligated for
the postpetition payment(s) that first became due on:

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Debtor(s) David J. Wallace Case Number (if known): 20-10306 AMC

First Name Middle Name Last Name

Itemized Payment History

If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the debtor(s) are not current
with all postpetition payments, including all fees, charges, expenses, escrow, and costs, the creditor must attach an itemized payment
history disclosing the following amounts from the date of the bankruptcy filing through the date of this response:

all payments received;

all fees, costs, escrow, and expenses assessed to the mortgage; and

all amounts the creditor contends remain unpaid.

The person completing this response must sign it. The response must be filed as a supplement to the creditor’s proof of
claim.

Check the appropriate box::

© 1am the creditor.
| am the creditor’s authorized agent.

| declare under penalty of perjury that the information provided in this response is true and correct to the best of my
knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different from the notice address listed
on the proof of claim to which this response applies.

=
«Denise Canlon Date 022712025

Denise Carlon
27 Feb 2025, 12:13:17, EST

KML Law Group, P.C.

701 Market Street, Suite 5000
Philadelphia, PA 16106
215-627-1322
bkgroup@kmllawgroup.com
Attorney for Creditor

Form 4100R Response to Notice of Final Cure Payment page 2

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:David J. Wallace dba Wallace
Freight, Inc

Debtor(s)
PennyMac Loan Services, LLC
Movant

VS.

David J. Wallace dba Wallace Freight,

BK NO. 20-10306 AMC
Chapter 13

Related to Claim No. 24

Inc
Debtor(s)
Kenneth E. West
Trustee
CERTIFICATE OF SERVICE

I, Denise Carlon, certify that on 2/28/2025, I did cause a true and correct copy of the documents

described below to be served on the parties listed on the mailing list exhibit, a copy of which is

attached and incorporated as if fully set forth herein, by the means indicated and to all parties

registered with the Clerk to receive electronic notice via the CM/ECF system:

e Response to Notice of Final Cure Mortgage Payment

I certify under penalty of perjury that the above document(s) was sent using the mode of service

indicated.

Dated: 2/28/2025

/s/ Denise Carlon

Denise Carlon, Esquire

Attomey I.D. 317226

KML Law Group, P.C.

BNY Mellon Independence Center
701 Market Street, Suite 5000
Philadelphia, PA 19106
201-549-2363
bkgroup@kmllawegroup.com

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Kenneth E. West

Office of the Chapter 13
Standing Trustee

190 N. Independence Mall West,
Suite 701

Philadelphia, PA 19106

Name and Address of Party Served | Relationship of Via
Party
David J. Wallace dba Wallace Debtor .
: CO Hand-delivered
Freight, Inc
8271 Williams Avenue ;
Philadelphia, PA 19150 eal First Class Mail
OO Certified mail
O E-mail
C1) CM/ECF
O Other
(as authorized by the court *)
Michael A. Cibik Esq. Attorney for
Cibik Law, P.C. Debtor CO Hand-delivered
1500 Walnut Street, Suite 900 :
Philadelphia, PA 19102 1 First Class Mail
OO Certified mail
O E-mail
CM/ECF
O Other
(as authorized by the court *)
Trustee

C1 Hand-delivered

OO First Class Mail

OO Certified mail

Ol E-mail

CM/ECF

O Other

(as authorized by the court *)

